                                                       U.S. Department of Justice
[Type text]
                                                       United States Attorney
                                                       Southern District of New York

                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007


                                                       July 2, 2020


BY ECF

The Honorable Alison J. Nathan
United States District Judge
Southern District of New York
United States Courthouse
40 Foley Square, Courtroom 1306
New York, New York 10007

    Re:       United States v. Ali Sadr Hashemi Nejad, 18 Cr. 224 (AJN)

Dear Judge Nathan:

    This letter is respectfully submitted in response to the Court’s June 9, 2020, Order.

Introduction
    Although we have not mastered every detail of the proceedings in this case, we believe we
have a sufficient understanding of the events to provide the following answers to the Court. 1 We
have addressed the issues here in depth because we wanted to understand as much as possible what
happened here. We have identified and address below several points where mistakes were made.
We do not believe any of the attorneys assigned to this case acted in bad faith or intentionally
withheld exculpatory information.

     For ease of reference, following are the attorneys who have been assigned to this matter since
its inception:

    Line AUSAs
    Andrew DeFilippis: April 2017 through May 2019
    Matthew Laroche: April 2017 through March 2019
    Rebekah Donaleski: September 20, 2018 to March 4, 2019
    Jane Kim: April 2019 to present
    Michael Krouse: April 2019 to present
    David Denton: June 19, 2019 to September 13, 2019

1
 We have spoken with all of the line prosecutors on the case, and almost all of the supervisors.
All attorneys have been completely forthcoming with information and records. Any failure of
detail or focus in this letter is solely to the inability of the undersigned to digest in the given time
every item of all the information provided.
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      Stephanie Lake: September 2019 to April 2020 (continued to help on discrete tasks after that)

      Special Assistant U.S. Attorney
      Manhattan District Attorney’s Office (“DANY”) ADA Garrett Lynch 2

      Supervisors
      John Cronan: April 2017 through August 2017
      Sean Buckley: April 2017 through March 2018
      Ilan Graff: August 2017 through September 20, 2019
      Michael Ferrara: April 2018 through September 2019
      Emil Bove: September 2019 through present
      Shawn Crowley: September 2019 through present

Question 1. (Potentially Improperly Withheld Material)
1. List all material in the case that was potentially improperly withheld from the defense.
        a. For each item responding to 1, indicate all Government attorneys who were responsible
        for the disclosure failures, including supervisors.
        b. For each item responding to 1, indicate whether the Government agrees or disagrees
        that the withholding of the item was intentional withholding of exculpatory evidence.

    With the exception of one category of still-classified information, the Government believes
that all potentially disclosable material (and more) has been disclosed to the defendant. 3 In specific
response to question 1.b, we do not believe that any information was improperly withheld from
the defense, in the sense of knowing that it had to be disclosed yet not disclosing it. But many
items were discovered or disclosed far too late, and the manner in which GX 411 was in fact
disclosed was problematic. Following is a summary of the information that was potentially
improperly withheld from the defense:

   GX 411. We believe the key breakpoint here, which generated cascading negative
consequences, was the absence of an indication, in ADA Lynch’s January 10, 2020, email

2
  ADA Garrett Lynch was, at the time of the investigation, Deputy Bureau Chief of DANY’s Major
Economic Crimes Bureau. He was first appointed a Special Assistant U.S. Attorney (“SAUSA”)
in this matter effective June 7, 2017. His SAUSA appointment was renewed annually, and most
recently expired on or about June 16, 2020. For simplicity, we will use Mr. Lynch’s ADA title
throughout this letter. The Court should be aware that when an attorney from another agency is
appointed a SAUSA to assist this Office in a criminal case, it is this Office, and our AUSAs, who
are ultimately responsible for disclosures in the case, and knowledge of any matter in the
investigation that may be overlooked by a SAUSA is imputed to Government, whether or not the
AUSAs on a case have actual knowledge of the matter. That being said, AUSAs on the case of
course had multiple discussions about disclosure issues with ADA Lynch and he served as their
principal source of information concerning conduct of the investigation by DANY.
3
 Some disclosures have been made via communications to the defendant that have not been filed
on the docket.
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transmitting the Commerzbank OFAC disclosure to the AUSAs in the case, that the document that
eventually became GX 411 had been retrieved from a forgotten and just recently rediscovered
DANY file. That would have triggered an immediate Rule 16 check. It is inevitable, particularly
in a white collar or regulatory case, that a prosecutor may not recognize the potential exculpatory
use to which a document may be put, but that is precisely where Rule 16 discovery can serve as a
fail-safe. Had GX 411 been disclosed in January 2020, the defense could have then made clear its
view of the document’s exculpatory value, and the subsequent searches for communications with
OFAC; for documents in DANY’s and this Office’s files from their earlier separate investigations
of Commerzbank (discussed below); and for other materials whose disclosure was triggered by
GX 411, could have taken place in an orderly fashion, as opposed to mid- and post-trial.
Circumstances concerning the actual disclosure of GX 411 are discussed below. AUSAs Lake,
Kim and Krouse, and ADA Lynch were the prosecutors aware of GX 411.

  Commerzbank. Late disclosures from DANY’s and SDNY’s separate investigations of
Commerzbank will be discussed below under GX 411.

    OFAC. Triggered by issues raised after the disclosure of GX 411, the Government disclosed
on March 9, 2020, (i) an August 1, 2016 email by ADA Lynch to a supervisor at OFAC in which
Lynch said he would “like to coordinate with OFAC . . . to provide you with information so you
can take action on your own if so desired,” and (ii) a September 22, 2017 email by ADA Lynch to
OFAC, copying AUSA Laroche, which attached a PowerPoint presentation outlining DANY’s
investigation and evidence against Sadr, and stating that the presentation “gives a rough sketch of
the case, the players, and the evidence. Obviously, it’s the tip of the iceberg – we’re happy to share
more information, records, etc.” In addition, although communications between a prosecuting
office and a regulatory agency are not generally disclosable as establishing that a regulatory agency
knew of and approved certain matters, the Government made post-trial disclosures of other
communications between the prosecution team and OFAC in 2017 and later. As indicated, ADA
Lynch was the author of the August 1, 2016 and September 22, 2017 emails; AUSA Laroche was
copied on the September 22, 2017 email; on on June 24, 2019, in an email string relating to a
question by AUSA Denton about whether a formal license check had been run with OFAC, AUSA
Laroche advised AUSAs Denton, Kim, and Krouse that “We had a few calls with Michael
Dondarski at OFAC who is familiar with the case but I don’t remember running license checks.”
AUSAs Lake, Kim, and Krouse became aware of the emails on March 9, 2020 when files were
being specifically searched for communications with OFAC. Also, in late March 2019, ADA
Lynch emailed AUSA DeFilippis to advise that he had spoken to someone at OFAC about a legal
issue relevant to the defendant’s pretrial motions and the Government’s opposition, stating that the
person at OFAC “[c]onfirmed the thoughts I had.” (AUSA DeFilippis did not participate in the
call.)

    Victor Aular Interviews. The Government made post-trial disclosure of three FBI 302s of
interviews (and related interview notes) of Victor Aular, a former CFO and Director of Petróleos
de Venezuela, S.A. (“PDVSA”), the Venezuelan state-owned oil company. The interviews took
place in February, March, and April 2016 in the presence of DANY personnel, including ADA
Lynch. During the first interview Aular stated, in pertinent part, that he was aware of U.S. sanctions
against Iran and that “this was the reason PDVSA contracts were reviewed by its attorneys” and
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that “the attorneys who conducted the legal review would know more information about [Iranian
International Housing Company].” According to Aular, the 302 continued, “PDVSA’s payment
situations were not routine. PDVSA’s budget and principle currency was in US dollars. PDVSA’s
reporting was done in US dollars. PDVSA’s payments to other countries were converted to each
country’s respective currency.” During the second interview, Aular “indicated he was aware of
some sanctions and the difficulties related thereto but explained that in his position he had very
little knowledge of regulations and sanctions;” and that “he would always ask [PDVSA’s] internal
legal team to review contracts to ensure they were in order legally and that no violations were
being committed.” In addition, as set forth in the March 302, “AULAR noted that when discussing
projects or proposals with Iran, the parties always spoke in terms of US dollars.” In the third
interview, Aular advised that “statements he gave during the previous interview [on March 11,
2016] were said in an inappropriate way and he wanted to clarify his position. AULAR clarified
that Venezuela’s relationship with Iranian enterprises was effectively a special relationship based
on government to government agreements of great political importance.” According to Aular, the
302 continues, “Iranian enterprises were aware of the impact sanctions were having on their ability
to obtain US dollars. However, AULAR did not have this experience with Iranian enterprises.
AULAR thought sanctions against Iran were publicly known. Iranian enterprises defined the
structures they used in order to receive US dollars. AULAR received instructions from Iranian
enterprises to make payments and he would proceed according to those instructions.” Aular also
clarified that, re-reading an August 31, 2011, document written on IIHC letterhead, “it was clear
the IIHC’s intention to avoid sanctions.” [sic].

    It is correct that no attorney on the case who was aware of the Aular 302s believed that a
PDVSA legal review of the transactions at issue in this case would be exculpatory as to Sadr’s
state of mind, inasmuch as Sadr would have had no knowledge of this (supposed) legal review.
Nor did any attorney on the case believe that the fact that Iranian transactions were always
discussed in dollars (as opposed to Venezuelan bolivars, already a weakening currency), or that
PDVSA’s practice of accounting in dollars, was in any way exculpatory of transactions designed
to avoid U.S. dollar sanctions. On January 30, 2020, in considering the first two Aular 302s, which
ADA Lynch had emailed to AUSAs Krouse, Kim, and Lake on January 10, 2020, AUSA Krouse
emailed AUSAs Kim and Lake to consider, “If [Aular] denied knowing Sadr, 4 do you think it’s
Brady we need to disclose.” AUSA Lake responded, “I don’t think he should have known Sadr,
given their respective positions. But could be worth running by a chief.” The AUSAs did not
further pursue the question, but given the lack of any reason to think Aular should have known
Sadr, there was no reason to consider Aular’s lack of knowledge of Sadr as exculpatory of Sadr.
But all that being said, even if not required to be disclosed, the Aular 302s should have been
disclosed ahead of trial as a matter of good practice so that potential defense theories about Sadr’s
state of mind, however attenuated, and the admissibility of Aular’s statements, could have been
developed and addressed in an orderly fashion in limine.



4
 The February 302 reports that “AULAR had no dealings with people from the IIHC. AULAR
only dealt with Ambassador SOLTANI and sometimes another member of Ambassador
SOLTANI’s office.”
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    Bahram Karimi Interviews. There was no delay in disclosing Karimi interview material in
the possession of the prosecutors. However, there were two failures of communication between
the FBI and the prosecutors on the case in this area. The first related to a classified FD-1057 report
of an interview with Karimi on September 14, 2016. Early on in the case—which was taken in by
our Office in approximately April 2017—AUSA Laroche had multiple conversations and meetings
with the FBI Special Agents on the case (including in-person meetings on April 10 and May 15,
2017) during which they discussed, among other things, the fact that classified information could
be discoverable, including classified information in the FBI’s file, and the need to conduct a
prudential search for potentially discoverable classified information in the possession of
intelligence agencies, which once conducted in August 2017 ultimately indicated no potentially
disclosable classified information in those agencies’ files. Moreover, on May 31, 2017, at AUSA
Laroche’s request, ADA Lynch sent AUSAs Laroche and DeFilippis an email, copying the FBI
Special Agents on the case, in which ADA Lynch sent personal identifying information for Karimi,
among others, and identified him as an individual for whom the case team would need to search
for classified information. After the case was charged, AUSA Laroche also identified in an email
to one of the FBI Special Agents, ADA Lynch, and AUSA DeFilippis the categories of discovery
to be produced and later in October 2018 in connection with the Government’s response to a letter
from defense counsel, AUSA Laroche emailed the case team about confirming that SDNY had all
copies of FBI 302s or other documents reflecting witness interviews. But not until mid-May 2020,
when AUSA Krouse communicated with the FBI and (on May 18) conducted an on-site personal
review of the FBI case file, did the prosecutors learn of the FD-1057 Karimi report. This led to
identification (and speedy declassification and disclosure) on May 19, 2020 of the originally
classified report. The second failure of communication related to the transmission and receipt of
the recording made by Canadian authorities of the January 22, 2020, interview of Karimi. All of
the trial prosecutors then-assigned to the case knew of the recording at or shortly after the time it
was made, and its existence and efforts to obtain it were discussed on the record; but no prosecutor
knew that the FBI in New York had in fact received the recording on or about February 12, 2020,
until after the trial, on or about March 30, 2020. The circumstances regarding the Karimi recording
are laid out in the Government’s letter of April 13, 2020. (Dkt. No. 307).

    Other Classified Material. During its post-trial review, the trial AUSAs discovered another
item of classified material that would be subject to Rule 16 disclosure. This item has not been
declassified. Given the Government’s request for a nolle prosequi, declassification in connection
with this case is not likely to occur because components of the United States Government involved
in the handling of the classified information would be unlikely to authorize use of the information
in the absence of an active criminal prosecution with attendant Rule 16 obligations. (The
Government has previously advised the defense of the foregoing.)

    Suppression. The defendant’s post-trial motions include a motion to reconsider the Court’s
partial denial of their motion to suppress email evidence. On February 20, 2020, the FBI sent to
AUSAs Krouse, Kim, and Lake and ADA Lynch an email referencing a June 7, 2016 FBI FD-
1057 relating to Farshid Kazerani (who testified as a Government witness at trial). Noting that the
report was classified, the FBI email did not attach the report, but described it as “from when our
Seattle office made contact with Kazerani in Seattle to notify him that FBI New York was trying
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to get in contact with him,” and that “Kazerani’s statement acknowledged the request, his current
school and work situation and his contact information.” Following trial, in connection with his
search for classified information, discussed above, AUSA Krouse requested that report which,
together with other previously classified information, was produced to the defense on May 19,
2020, under Bates No. USAO_00509-00527). This and other reports obtained around this time
suggested that, early on in the DANY investigation, the FBI had had DANY personnel search
email data in general support of at least one witness interview, and that the FBI was investigating
federal crimes rather than the state-law offenses at issue in the warrants, contrary to arguments we
made during suppression litigation. Subsequently (on June 1, 2020), and consistent with the
indication in the FD-1057 Report, ADA Lynch provided a series of email threads relating to the
manner in which DANY conducted its searches of email accounts pursuant to the state warrants,
including a 2016 email in which the then-case agent asked DANY personnel if they could pull
photographs from the provider data obtained pursuant to the state warrants for use in a witness
interview. These emails were produced to the defense on June 5, 2020, together with a number of
other documents.

   Other Disclosures. Given the disclosure issues that surfaced during and after trial, the
Government made a point of disclosing other interview and documentary material that we believe
went beyond the Government’s disclosure obligations and that are not directly pertinent to the
Court’s questions here.

Question 2. (Karimi Nolle)
2. Identify with specificity the “disclosure-related issues that arose during the March 2020 trial
as well as in pre- and post-trial motion practice, including with respect to the pretrial suppression
litigation,” Dkt No. 348, that are the basis for the Government seeking to nolle the indictment
against Mr. Karimi, who has not yet been tried.
    Were Karimi ever to be taken into custody and arraigned on the indictment against him, he will
not have been prejudiced by the timing of any of the disclosures in the Sadr case. Nor (with the
crucial exception of the suppression issues addressed immediately below) do we view the
substance of any of the late disclosures in the Sadr case as particularly undercutting the strength
of the case against Karimi on the sanctions-related charges. 5 Instead, the principal factors that have
led us to submit a nolle prosequi in the case against Karimi are as follows.


5
  Karimi was also charged in Count Three of S2 18 Cr. 224 with making a false statement in
January 2020 that “during the course of the Venezuela Project, KARIMI believed that international
sanctions against Iran did not apply to Iranian companies or persons.” Among the post-trial disclosures
to Sadr was a recently declassified October 6, 2016, FBI FD-1057, concerning a September 14, 2016,
conversation between Karimi and an FBI agent. That report noted, among other things, that Karimi
“stated aloud neither he [n]or anyone else broke any laws.” ADA Lynch (who had not been present
at this) sent an email that same day relaying his impression from the law enforcement participants
that Karimi “firmly believes he and others did nothing wrong.” (Dkt. 341, Ex. B at 3; Ex. C at 2).
At a trial on Count Three, Karimi could conceivably offer one or both of those documents as prior
statements consistent with an innocent state of mind at the time of the false statement charged.
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    First, as previously referenced, among the post-trial disclosures in the Sadr case was an FBI
report and email communication between FBI agents and DANY personnel that provide a basis
for the defense to argue that the FBI was seeking to use material gathered in response to the state
email search warrants in aid of FBI interviews, and to further investigation of federal charges. We
viewed these items as likely to lead to an expansion of the suppression issues in the case and to a
substantial risk that essential email evidence would be suppressed. As the Court is aware, there
were already significant difficulties in reconstructing the manner in which the state search warrants
were executed. And, while we are not at this moment aware of any additional information that
would have to be disclosed in this regard, given the late disclosures here, and the difficulties in
reconstructing every detail of the investigation conducted by the FBI and DANY before this Office
took over the case, we cannot discount the possibility that additional information supporting a
motion to suppress might be identified. This was a significant reason, going to the underlying
strength of our admissible evidence, which led us to believe that a nolle prosequi was appropriate.
    The second main reason was a resource and timing issue. Any new trial would necessarily
require a new team of AUSAs who would have to become familiar with every aspect of the
investigation—not an easy task, particularly in a case that has already suffered from multiple
breakdowns in communication that contributed to significant disclosure failures. Moreover,
Karimi lives in Canada and could easily flee to Iran, from which he could not be extradited. We
would not expect to take Karimi into custody any time soon (if ever), and in our decision to request
entry of a nolle prosequi we considered that, over time, loss of memory and increased difficulties
in accessing information would make it more difficult for a new team of prosecutors to absorb
everything they would need to know about the investigation in the case. We also considered other,
more speculative, potential issues in a future trial, such as efforts to impeach the investigation or
individual agents based, for example, on the circumstances and differing recollections of the late
production of the Karimi recording.
    Finally, and not least, the indictment against Karimi alleges that he participated in the charged
conduct as part of his employment for a company that was controlled by Sadr and his family. (See
Dkt. 199). For this and other reasons, we assessed Karimi to be a lesser contributor to the charged
conspiracy than Sadr. Once we had concluded that disclosure-related issues warranted dismissal
of the Sadr indictment, the potential unfairness of proceeding only against Karimi was a further
factor supporting dismissal of the Karimi Indictment.


Questions 3-5 (GX 411)
3. Identify all Government lawyers, including supervisors, who were involved in the decision to
transmit GX 411 to the defense during trial without expressly indicating that it had not previously
been disclosed. See Dkt. No. 279-1 at 3.
   Please see the narrative under question 5.
4. In an order dated March 8, 2020, the Court required, among other things, the Government to
“explain precisely when and how it realized that [GX 411] had erroneously been withheld and
when, if at all, upon learning of the failure to disclose this was communicated to the defense.” Dkt.
No. 290. In its response letter, the Government explained that “members of the team discussed the
document . . . and confirmed that it likely had not been produced to the defense previously. The
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Government promptly had a paralegal mark it as an exhibit and produced it to the defense along
with other exhibits and 3500 material. The Government made clear that GX 411 was a newly
marked exhibit and that we intended to offer it . . . .” Dkt. No. 277 (emphasis added). In Court the
next day, the Government conceded that this was false. See Trial Tr. at 993:24–994:2 (Court:
“When this was disclosed to the defense Saturday around 4:00, did you identify it as a newly-
marked document?” AUSA: “No.”). In a letter dated March 9, 2020, “the Government
reiterate[d] its earlier concessions of error in failing to timely produce GX 411, and failing to
make accurate disclosures regarding the status of the document on March 7 and March 8, 2020.”
Dkt. No. 283 at 1 (emphasis added).
       a. In light of how GX 411 was actually transmitted to the defense, was it false and/or
       misleading to state to the Court that “[t]he Government made clear that GX 411 was a
       newly marked exhibit”?
       b. Name all Government lawyers, including supervisors, who were involved in making that
       representation to the Court.
   Please see the narrative under question 5.

5. Do the disclosures made by the Government after trial on May 21, 2020, discussed in Dkt 341
at 7–9, cast doubt on any representations made to the Court, including in the March 9, 2020 letter,
about the prosecutions team’s awareness of the contents of GX 411?
Name all Government lawyers, including supervisors, responsible for any misstatements made to
the Court.

    We have looked at issues concerning GX 411 very closely. The Government disclosed GX 411
within one day after realizing it had not been previously disclosed; and we do not believe any of
the attorneys on the case recognized any exculpatory value of this exhibit to the defense until the
defense itself raised the issue. We set forth our analysis, and have attempted to respond to the
Court’s specific questions, in the discussion below. We start first with the Commerzbank
investigations, the source of GX 411 (and of other subsequently disclosed documents).

    The Commerzbank Investigations. Prior to initiation of the Sadr investigation, DANY and
this Office (in conjunction with other federal components) each had investigations into
Commerzbank. The federal and state investigations were resolved via a deferred prosecution
agreement entered into on March 11, 2015, and announced on March 12, 2015. In brief, as set
forth in this Office’s press release of March 12, 2015, the federal investigation involved violations
of the International Emergency Economic Powers Act and the Bank Secrecy Act, particularly in
connection with Commerzbank’s role in facilitating transactions related to an accounting fraud by
Olympus Corporation; and Commerzbank’s role in processing, from 2001 through at least 2008,
$263 million of transactions that were prohibited under U.S. law. In its press release issued on
March 12, DANY also announced the settlement, describing the conduct in part as “beginning in
or around January 2002 and continuing through 2008, Commerzbank systematically violated both
New York State and U.S. laws by moving hundreds of millions of dollars illegally through banks
in Manhattan primarily on behalf of Iranian and Sudanese clients subject to U.S. sanctions.” The
specific banking transactions listed in the Indictment in this case run from 2010 through 2013.
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Even in retrospect, it appears that, absent knowing some specific reason to look, the DANY and
SDNY Commerzbank investigative files would not be considered as files that should have
automatically been searched for matters to be disclosed in this case. And in fact, the AUSAs
assigned to this case had no knowledge of the Commerzbank investigations until the events of this
year. As discussed below, there was a specific reason to look in these files, but that reason was
overlooked and did not resurface until mid-trial.

     The Commerzbank-Venezuela Housing Documents. ADA Lynch was one of the DANY
attorneys assigned to DANY’s Commerzbank investigation. In approximately June 2015, ADA
Lynch was also assigned to the Venezuela housing matter, which ultimately led to this case. At
some time around June 2015 or later that year, as ADA Lynch was boxing up material from the
Commerzbank investigation that had ended on March 12 of that year, ADA Lynch came across
some documents (including or consisting of the Commerzbank Stratus International disclosure to
OFAC) that he realized related to the Venezuela housing matter. He set those documents aside in
a hard-copy manila folder. Thereafter, on August 31, 2015, ADA Lynch issued a state grand jury
subpoena to Commerzbank for wire transfer information, for the period 2010 to date, concerning
a list of institutions, including for example Stratus International Contracting J.S., pertinent to the
Venezuela housing investigation. Commerzbank duly responded to that subpoena. When this
Office took over the investigation in around April 2017, the returns from the Commerzbank grand
jury subpoena were provided to our Office and were duly disclosed. But the folder of documents
that ADA Lynch had set aside from the Commerzbank investigation had, by then, been lost to
ADA Lynch’s memory, and was not relayed to our Office. Had it been its contents would certainly
have been disclosed as a matter of course under Rule 16 and subsequent events would have turned
out much differently.

    DANY’s Transmission of the Commerzbank OFAC Disclosure (GX 411) to SDNY. ADA
Lynch advises that in making a pre-trial sweep through his office for everything he rediscovered
the separate folder of Commerzbank-Sadr documents. This would have been around December
2019—ADA Lynch advises that, in a December 19 email to AUSA Kim, copied to the other
AUSAs on the case, concerning U-turn transactions over SWIFT, the following comment, which
he added to the email, relates to GX 411: “(Now I’m really going off on a tangent, but
Commerzbank was an intermediary bank in the first USD payment (to Stratus Turkey) and they
actually picked up on ‘Stratus’ in the payment message, drew the connection to the Iranian entity,
and filed a report with OFAC.)” ADA Lynch emailed the actual Commerzbank OFAC disclosure
to AUSA Lake, with other team members copied, on January 10, 2020. In that email he noted, “In
the spirit of closing the loop on the $29M payment through Commerz, attached is the voluntary
disclosure Commerze made to OFAC re: the payment.” The document, and the potential need for
a witness from Commerzbank to authenticate it, were further discussed in emails between ADA
Lynch and the AUSAs on the case on January 30 and February 1, 2020. But there was absolutely
nothing in these exchanges to suggest to the trial AUSAs that the Commerzbank OFAC disclosure
came from any source other than the Commerzbank grand jury returns, which had been disclosed;
there was nothing to suggest that there was some other, forgotten and rediscovered, set of
Commerzbank documents relevant to the Venezuela housing investigation that had not been
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disclosed. 6 And on the then reasonable assumption (by the AUSAs on the case) that all
Commerzbank documents had previously been disclosed, there would be no call at this time for a
disclosure analysis under either Rule 16 or as exculpatory information. Nor did any of the attorneys
view this document as anything but further inculpatory proof of one of the transactions at issue.
Had any of the attorneys on the case recognized the exculpatory theory the defense has articulated,
that would, we believe, have triggered further analysis, but they did not. The Court has referred to
that as “trial blinders,” which is an apt description, and which is why other mechanisms for
ensuring full disclosure are so important, to cover defense theories that prosecutors on a case
simply do not see.

    The Decision to Use GX 411. At around 7:49 and 7:52 p.m. on the evening of Friday, March
6, 2020, in the middle of trial, AUSA Lake emailed ADA Lynch, copying the other AUSAs on the
team, regarding the Commerzbank OFAC disclosure: “I’m cleaning up email and came upon this.
Given what defense did today, I think this could be really valuable to put in. Among other
difficulties with doing that is the fact that I don’t know that it was ever produced to defense (it’s
not in the Commerzbank subpoena production). Garrett – do you know where it came from?” It
appears that AUSA Lake tried to call ADA Lynch at this time, but was unable to connect with him
at this moment. AUSA Lake then initiated an exchange with AUSA Kim, at 7:53 p.m. Friday
evening, on an internal chat system. (AUSA Kim was at this time primarily working on the
Government’s rebuttal summation.) In the chat, AUSA Lake noted, “i feel like it might be too late
to do anything about it, but i can't believe we all missed that commerzbank document,” adding “i
have no idea where that letter came from[;] i don't think it has ever been produced to the defense”.

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  ADA Lynch advised us today that he recalls discussing the Commerzbank OFAC disclosure with
AUSAs in January 2020, and that at or about that time, he had a telephone conversation with
AUSA Lake about, among other things, “how and from where” the Commerzbank OFAC
disclosure had been obtained. AUSA Lake (as well as AUSAs Kim and Krouse) have confirmed
that they did not have a conversation with ADA Lynch at that time about how and from where the
Commerzbank document had been obtained. We were surprised to learn of ADA Lynch’s
recollection, which was not mentioned in earlier proceedings. For example, ADA Lynch was in
court on March 9, 2020, when AUSA Krouse stated that ADA Lynch “hasn’t flagged it as
something new, he flagged it as this is another piece of evidence.” (Tr. 980). The Government’s
March 9, 2020, letter (docket entry 283), a draft of which had been sent to ADA Lynch, states:

         AUSA Lake recalls speaking to SAUSA Lynch on the phone briefly about GX 411
         soon after SAUSA Lynch sent his January 10, 2020 email. SAUSA Lynch recalls
         that he and AUSA Lake discussed the substance of GX 411 and whether to
         introduce it in the Government’s case-in-chief. At the time of the January 10, 2020
         email, AUSAs Lake, Kim, Krouse, and SAUSA Lynch did not realize GX 411 had
         not been produced in Rule 16 discovery, and failed to check whether it had been.

It would have been pertinent for a January 2020 discussion of the provenance of GX 411 document
to have been raised at the time of those representations on March 9. It remains our evaluation that
the Commerzbank OFAC disclosure was not identified as coming from a completely new source
at the time it was transmitted to our Office in January 2020.
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Following some initial confusion on the part of AUSA Kim about what document was being
discussed, AUSA Kim responded, “oh, that letter[;] we can produce it tonight[;] produce it right
now and the defense can have 3 days to review[;] that's more than enough time for one document[;]
mark and produce it stat - i think we should at least try”. AUSA Lake responded, “i'm wondering
if we should wait until tomorrow and bury it in some other documents”, to which AUSA Kim
responded, “that's fine too - some of the FATF 7 stuff”. “Bury,” of course, is a trigger word in the
context of disclosure, and that is one of the reasons we have scrutinized the production of GX 411
so closely. But the document, which was in fact produced less than 24 hours later, was not buried.
While AUSA Lake is endlessly chagrined about this chat, we believe it would go too far to
condemn her for a Friday night lapse in thinking regarding a document that was in fact disclosed
Saturday afternoon. Returning to the events of that evening, AUSA Lake had a conversation with
ADA Lynch at this time, and resumed the exchange with AUSA Kim at 8:05 p.m., communicating
that ADA Lynch was reaching out to a contact at Commerzbank to get a witness for Monday.
AUSA Lake noted the “need to come up with some explanation for why the defense is just seeing
this for the first time, though[;] apparently DANY got it through an unrelated case. AUSA Kim
asked, “how- through subpoena?,” to which AUSA Lake responded, “he thinks it was through a
DPA with Commerzbank.” AUSA Kim responded, “ahhh[;] was he involved w that?”, to which
AUSA Lake responded, “unclear”, after which she said she was stepping away and the chat ended. 8

    The following morning, AUSA Lake called AUSA Krouse, who was at home working on his
summation. AUSA Lake then conferenced in AUSA Kim. Summarizing the AUSAs’ recollections
of this call: AUSA Lake discussed the document, where it came from, and how it was helpful
because it showed that the information the defendant was trying to hide from the bank was material
to the bank, which wouldn’t have processed the transaction if it knew it was connected to Iran, and
that the bank put the name of the company on its sanctions filter. The AUSAs discussed the fact
that the document likely had not been produced to the defense previously. Whether the exhibit was
worth offering was discussed, with AUSA Lake stating that she thought it was good and worth
offering, and would get it marked. On the other hand, AUSA Lake did not want to get into a fight
with defense counsel over the document. Rule 16 was also discussed, and the possibility of a
defense objection under Rule 16. AUSA Lake recalls a discussion that GX 411 might not violate
Rule 16, because it was only being offered in response to issues raised by the defense. AUSA Kim
advises that she does not recall any discussion about not highlighting GX 411 to the defense on
the call; rather, that the AUSAs agreed that GX 411 was inculpatory, should be produced to the
defense as soon as possible, and to try to offer it into evidence the following week. AUSA Krouse
does not recall any discussion during this call of the manner in which GX 411 should be disclosed
to the defense. As to all AUSAs, there was never any notion that GX 411 might be of exculpatory
value to the defense.




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 In this regard, AUSA Kim has explained that she thought it would be fine to disclose GX 411 the
next day together with a newly-marked Financial Action Task Force exhibit (that the prosecutors
ultimately decided not to use).
8
    AUSA Krouse advises he first became aware of this chat last week, during this review process.
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    Shortly after that call, at 10:48 a.m. that Saturday, AUSA Lake emailed the document to a
paralegal and asked him to mark it; the paralegal was not immediately available and this
occasioned some delay (which led AUSA Kim to suggest to AUSA Lake that it should be sent out
the door without waiting for it to be marked). The document was finally emailed to the defense at
4:04 p.m. that afternoon, under cover of the email quoted below. AUSA Lake has a recollection of
discussing with AUSA Krouse whether to flag in the email that GX 411 had not previously been
produced. She cannot remember the discussion in detail but her takeaway was that they were both
confident the defense would know it was a new document given their knowledge of the case, that
the Government should simply produce it and wait for the defense’s questions, and if the
Government did not make a big deal about the document, the defense might decide that it was not
important enough to object. AUSA Krouse, who was concentrating on the summation that
weekend, does not recall being consulted about the transmittal email or seeing it before it was sent,
and believes he would remember any discussion about how the item should be produced had he
participated in one. AUSA Kim has also advised that she did not participate in drafting or
reviewing this email prior to its transmittal.

      Following is the transmittal email AUSA Lake sent at 4:04 p.m. Saturday afternoon: 9

         From: Lake, Stephanie (USANYS)
         Sent: Saturday, March 07, 2020 4:04 PM
         To: Weingarten, Reid <RWeingarten@steptoe.com>; Heberlig, Brian
         <BHeberlig@steptoe.com>; Silverman, Nicholas <nsilverman@steptoe.com>
         Cc: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Kim, Jane (USANYS) 4
         <JKim4@usa.doj.gov>; Lynch, Garrett (USANYS) [Contractor] <GLynch@usa.doj.gov>;
         Milione, Shawn (USANYS) [Contractor] <SMilione@usa.doj.gov>
         Subject: U.S. v. Sadr

         Counsel,

         Mr. Dubowitz is still very ill. As a result, we do not intend to call him as a witness in our
         case-in-chief. It’s possible that, depending on the defense case, we will call him as a
         rebuttal witness.

         In addition, we’ve attached the following documents:

             -   Updated GX 2284D – there were formatting problems with our version. We think
                 the attached corrects them.
             -   3508-08 – 3500 from today
             -   GX 411 – we intend to offer this on Monday. Let us know if you will stipulate to
                 authenticity.

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 Due to a transmission error, the production had to be retransmitted at approximately 4:24 that
afternoon.
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           -   GX 456 – we intend to offer this on Monday. Let us know if you will stipulate to
               authenticity.
           -   GX 495A & B – we intend to offer these on Monday (likely in redacted form),
               although think a stipulation that the defendant had bank accounts at HSBC from
               January 2010 through October 2013 might be simpler. Let us know how you
               prefer to proceed.
           -   GX 704 – this is the modified version of the travel chart. Please confirm whether
               you have any remaining concerns.
           -   GX 705A & B – these are summary charts reflecting the information in GX 2090A.
               Please confirm whether you have any objections.
           -   Updated GX 2304A – we enlarged some of the cells, as the formatting of the
               PDFd excel file was cutting off some of the data. The content is the same.
           -   3504-10 – Peri 3500, which was provided in hard copy yesterday morning.
           -   3505-06 – Blair 3500, which was provided in hard copy yesterday morning.
           -   3513-02 – Paralegal 3500 for summary chart (you may already have this)
           -   3513-03 – Paralegal 3500 for summary chart (you may already have this)

       We are still working on one additional summary chart, which we expect to provide later
       today.

This email does not, as we believe it should have, identify GX 411 as a new document that was
not previously produced. But neither was this transmission of GX 411, together with 14 other
documents (mostly duplicates of 3500 material or revisions of exhibits), a burial. Rather, it was
completely justified to assume and expect that defense counsel here, highly attuned to the case,
would immediately recognize GX 411 as a new document and inquire about it. As they did: at 4:57
that afternoon, Mr. Heberlig responded to the above email, stating, in here pertinent part, “We
request immediate disclosure of (1) where GX 411 came from, (2) how long it has been in the
government’s possession, (3) why we are only receiving it today. This is the second episode—
along with GX430, GX431, and GX432—of the government producing fundamentally
exculpatory documents mid-trial.” As we have indicated above, it remains our evaluation that
AUSAs Lake and Kim recognized GX 411 as a Rule 16 issue on the evening of Friday, March 6,
2020, and ensured that it was produced the following day, but that no attorney on the case had any
inkling until Mr. Heberlig’s Saturday afternoon email that GX 411 would have exculpatory value
for the defense.

    The Government’s March 8, 2020, 10:00 p.m., Letter. Turning now to the question of the
extent to which the Government “made clear that GX 411 was a newly marked exhibit.” The
Court’s question relates to the Government’s letter of Sunday, March 8, 2020, filed at
approximately 10:00 p.m. that night under docket entry 277. By way of background, earlier that
day, at approximately 3:20 p.m., the defense filed a letter informing the Court of the disclosure of
GX 411 and requesting a curative instruction. (Dkt. No. 274). At 4:04 p.m., the Court issued an
order directing the Government to respond to the defense request by 7:00 p.m.; and at 5:01 p.m.,
the Court issued a supplemental order directing that “In its response letter to be filed at 7 p.m., the
Government shall include a detailed representation to the Court that explains why Government
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Exhibit 411 was not previously disclosed and what led to its disclosure for the first time yesterday.
That representation should further specify all attorneys involved in the decision-making with
respect to both the non-disclosure and the subsequent disclosure yesterday of this document.”
AUSA Lake prepared and circulated a draft letter and filed the Government’s response at
approximately 7:00 p.m. Thereafter, at approximately 9:05 p.m. that evening, the Court issued an
Order (docket entry 290) which stated in pertinent part:

          In the letter filed this evening by the Government, Dkt. No. 275, the
       Government states that “It was only in the context of this process that the
       Government realized that GX 411 was not part of Bank-1’s subpoena production,
       which had been provided to the defense in discovery.”

            The Court requires further explanation. Specifically, it is unclear from this
       sentence if the Government realized GX 411 had not been previously disclosed
       before or after the Government turned it over to the defense yesterday. Nor does
       this sentence indicate if, upon learning of the late disclosure, the Government
       informed defense counsel or not. The Government shall explain precisely when and
       how it realized that the document had erroneously been withheld and when, if at
       all, upon learning of the failure to disclose this was communicated to the defense.

The Government was ordered to respond by 10:00 p.m. AUSA Kim forwarded the order to Chiefs
Bove and Crowley, who responded to all the line prosecutors at 9:22 that “We’re around to turn
the draft.” At 9:31 that evening, AUSA Lake circulated to AUSAs Kim and Krouse, and ADA
Lynch, a draft response which read in pertinent part as follows (emphasis added):

           The Government found GX 411 in its emails on Friday night, looked at the
       Commerzbank subpoena production, and did not find it. The members of the team
       discussed the document the next morning and confirmed that it likely had not been
       produced to the defense previously. The Government had a paralegal stamp it later
       in the day, and produced it to the defense. The Government did not specifically
       identify that GX 411 had not previously been produced in discovery. Defense
       counsel responded shortly after the Government provided GX 411 and asked how
       long the Government had GX 411, and why they had not previously received it.
       The Government responded and explained that we had been aware of the letter since
       mid-January, and had mistakenly believed that it was part of the discovery in the
       case.

Unfortunately, AUSA Lake, who was ill, had to leave the Office shortly after sending the email. 10
She let AUSA Krouse know. At 9:50 p.m., AUSA Krause realized that AUSA Lake’s email had
only been sent to the trial team and not to the Unit Chiefs. AUSA Krouse forwarded AUSA Lake’s
email and her draft to Chiefs Crowley and Bove, copying AUSAs Kim and Lake, with the
comment, “Not sure Stephanie sent this to you.” At 9:53 p.m., Chiefs Crowley and Bove called

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   We have provided further information on AUSA Lake’s medical condition in a separate letter
filed under seal.
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AUSA Krouse. Mobile phone records indicate this call lasted until 9:59 p.m., one minute before
the Court’s deadline. AUSAs Crowley and Bove were out of the Office at this time,
communicating by iPhone, and were not able to review the final draft. At 10:01 p.m., AUSA
Krouse emailed to AUSA Kim, “They called me with some changes. I made them and filed.”

     The letter that was actually filed differed from AUSA Lake’s draft, principally in the absence
of the bolded sentence above and the insertion of the bolded sentence below. In pertinent part the
letter as filed stated:

           The Government found GX 411 in its emails on Friday night, looked at the
       Bank-1 subpoena production, and did not find it. The members of the team
       discussed the document the next morning and confirmed that it likely had not been
       produced to the defense previously. The Government promptly had a paralegal
       mark it as an exhibit and produced it to the defense along with other exhibits and
       3500 materials. The Government made clear that GX 411 was a newly marked
       exhibit and that we intended to offer it, and asked the defense if they would
       stipulate to authenticity.

    Recollections at this point diverge. Chiefs Crowley and Bove have advised that they did not
request these changes, although they may have missed the changes if the final draft was read to
them over the phone. (Indeed, contributing to the confusion, Chiefs Crowley and Bove have
advised that it was not until after this inquiry had begun that they realized the letter that had been
filed differed from the draft that AUSA Lake had prepared.) On the other hand, AUSA Krouse
recalls opening AUSA Lake’s draft during the call and making changes that he understood to
reflect the input he was receiving from the unit chiefs. In retrospect, it is our evaluation that the
review process that took place in the seven minutes before the filing deadline ended with a failure
of understanding. As a result, AUSA Krouse filed a letter that he believed reflected the considered
judgment of his supervisors. AUSA Lake continued to be unwell the next day. AUSA Krouse and
Chief Bove spoke for the Government in court about the shortcomings of the letter, including that
the letter failed to respond to the Court’s question, which they recognized that morning. In sum,
we do not see any indication of any intent to mislead the Court here; rather, we think there was a
last-minute effort Sunday night to get things right that unfortunately ended up getting things
wrong.

Question 6. (Known Misstatements)
6. Identify all known misstatements (in writing or orally) made to the Court about disclosure issues
in this case.

    We have not in the time given been able to scour the record for every statement made to the
Court that might have needed correction or elaboration. As a general matter, it is our understanding
that all statements the Government may have made to the Court at various times regarding the
status or completeness of disclosures have been corrected, as need be, by the series of mid-and
post-trial disclosure letters (including to an extent this letter) filed with the Court. (Some items
were updated in correspondence with defense counsel that has not been filed.) Beyond such
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statements regarding the status and completeness of discovery, following are the principal areas
where our understanding of circumstances, and representations to the Court, needed correction.
     Classified Information. At a May 16, 2018, court conference, the Court asked the government
“if there’s going to be any sort of classified information or anything like that,” so that the Court
could prepare for handling any classified discovery matters. (Dkt. 32 at 18). Based on the
prudential search review he had conducted with ADA Lynch, and several conversations with the
FBI agents assigned to the investigation, AUSA Laroche responded: “We do not anticipate any
classified discovery or any [Classified Information Procedures Act] litigation in this case.” AUSA
Laroche’s evaluation has in fact proven to be correct; we note this exchange because at the time
AUSA Laroche was unaware of the classified material in the FBI’s case file despite having
inquired on multiple occasions as to whether such material existed, as discussed above. Also, as
noted elsewhere, there remains one item of classified information that has not been declassified.
    Karimi Interviews. During the March 10, 2020, charging conference (see Tr. 1354-56),
AUSA Kim stated, in sum, that “the squad supervisor again reached out and asked again for the
recordings. Again, my understanding is that this process isn't immediate, that a foreign government
or foreign law enforcement agent typically doesn't produce this type of material immediately. And
so I just want to make clear for the record that we have produced all of our underlying notes and
materials in connection with those interviews.” This reflected AUSA Kim’s understanding of the
circumstances at that time. But after trial, on March 30, 2020, the Government learned that the FBI
in New York had in fact received the recording on February 12, 2020. The Government advised
the Court by letter of March 31 (Docket. 303), and provided additional detail concerning
production of the recording via a set of declarations that it provided to defense counsel on June 5.
(These declarations have not been filed.) In addition, on May 18, 2020, during his review of the
FBI case file, AUSA Krouse discovered the previously classified FBI FD-1057 report relating to
the September 14, 2016 Karimi interview discussed above. The report was quickly declassified
and produced to the defense on May 19, 2020.
    Suppression Matters. Although we at this moment have not identified a specific example of
a representation to the Court on the subject, one overall theme of the Government’s argument on
the suppression motions was that DANY personnel reviewing the returns on the various state email
search warrants were conducting the review looking for material pertinent to the state law
violations referenced in the warrants. The Government was somewhat more specific on this point
in representations to the defense at the time, indicating, in sum, that the email search warrant
returns had been reviewed by DANY personnel and that after the DANY review had ended, in
June or July 2017, “hot docs” were provided to the U.S. Attorney’s Office. See Government letter
of September 26, 2019, Docket No. 147-3. These representations were based in substantial part on
information provided by ADA Lynch. But as discussed above, recently identified email
correspondence involving FBI personnel in 2015 and 2016 suggests a greater involvement of FBI
personnel during the state responsiveness review. Were the Government to continue to litigate this
matter, FBI involvement during the state responsiveness review would have to be carefully
investigated in order to provide the Court with a thorough new statement of the circumstances of
the searches.
    GX 411. The Government’s principal representations concerning the discovery and disclosure
of GX 411, and how clearly the Government did—or did not—identify GX 411 as a new document,
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are contained in the March 9, 2020, transcript at Tr. 976-95. Our analysis of exactly what happened
in this regard is set forth above.
Question 7. (AUSA Training)
7. Following a conceded Brady violation in another case before this Court in United States v.
Pizarro, No. 17-cr-151, the leadership in the United States Attorney’s Office assured the Court
that significant new training on disclosure issues was being systematically instituted in the Office
in order to prevent a similar issue from recurring. Did all AUSAs in this matter, including the
Special AUSA (SAUSA) assigned from the District Attorney of New York (DANY), receive the
newly-instituted training?
    Following (and substantially as a result of) issues in the Pizarro case, this Office, under the
leadership of then-Chief Counsel Audrey Strauss, and at the direction of U.S. Attorney Geoffrey
Berman, convened a committee that by September 2018 had completely updated our Discovery
and Disclosure Policy. The Policy stresses, among other things, how “[b]road, early disclosure is
also in the prosecution’s interest because it will leave the prosecutor less likely to be vulnerable
after the case is over to the argument that a non-disclosure that seemed immaterial early in the case
was in fact material at the end of the day.” We also addressed our prosecution memo template to
call for specific discussion of anticipated discovery issues and any particularly challenging
anticipated defense. AUSAs received Unit-level training on the Policy shortly after its adoption.
All AUSAs assigned to this case, but not ADA Lynch, 11 received this Unit-level training.

     The revised Policy was well received and we believe it has led, among other things, to earlier
identification and discussion of items that might, even arguably, support an exculpatory argument,
and to earlier disclosure of witness statements (including non-testifying witnesses). Although the
Sadr case was accepted by the Office in April 2017, discussed in a December 2017 prosecution
memo, and indicted in March 2018—all of which preceded the post-Pizarro changes—the AUSAs
who initially took over the case worked diligently and in line with the post-Pizarro changes to
comply with their disclosure obligations. This included, prior to charging and among other things,
(i) multiple in-person visits to DANY during which the AUSAs reviewed DANY’s electronic case
file, discussed the investigation and potential discovery and suppression issues, and stressed the
need to disclose any potentially exculpatory materials; (ii) multiple other meetings and phone calls
with DANY and/or the FBI, including the case agents and, at times their supervisor, during which
the AUSAs discussed the investigation and evidence, requested materials, and stressed, again, the
need to disclose potentially exculpatory materials; (iii) the AUSAs requesting an itemized list of
all evidence obtained as part of the investigation, including all facilities searched pursuant to search
warrants and documents obtained through subpoenas; (iv) substantial time reviewing the evidence
provided at the AUSAs request, including emails, bank records, subpoena returns, and witness
statements, as well as the search warrants and affidavits executed as part of the investigation and
DANY’s draft prosecution memorandum; and (v) an August 2017 prudential review of classified
materials in the possession of certain intelligence agencies. The Government’s disclosure
obligations were discussed and conveyed to DANY. The initial prosecution team continued to
discuss discovery issues as they arose post-charging. Also post-charging, the AUSAs then assigned

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 We did not provide Policy training for any SDNY SAUSAs. As discussed below, we are
mandating that all current and future SAUSAs receive such training.
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to the case had conversations with the FBI and DANY about the Government’s disclosure
obligations and, again, the need to disclose potentially exculpatory materials. This included,
among other things, the AUSAs communicating with DANY and the FBI about discovery that
needed to be produced and other communications to attempt to ensure that SDNY was in
possession of all relevant materials, including witness statements.


Question 8. (DANY and SDNY Responsive Steps)
8. What, if any, steps are being taken by the US Attorney’s Office and/or DANY, in response to the
handling of this case?

    DANY has informed us that, in response to the issues raised in this case, it is reviewing and
updating its protocols for prosecutions conducted jointly with other prosecutors’ offices. In
particular, DANY has informed us that, in any case where there is a cross-designation of a DANY
prosecutor, DANY will take steps to ensure that the principal prosecutor’s office will be
responsible for assessing and disclosing any materials gathered and supplied by DANY, to avoid
any uncertainties that might otherwise result from the joint nature of the prosecution. This will
augment the training already conducted by DANY on Brady responsibilities and discovery
obligations, including those introduced by New York State in January 2020.

    For our part, this Office strives to hold itself to the highest ethical standards and is taking a
number of steps to address the issues that emerged in connection with this case. First, we are
pursuing a comprehensive internal evaluation of the root causes of the above-described mistakes
in our handling of this case, which will continue until we are satisfied that we fully understand the
problem. Second, later this month we will be conducting a Criminal Division-wide refresher on
our September 2018 discovery Policy training. Third, we will be requiring all future Criminal
SAUSAs to undergo that disclosure training as part of their onboarding process and ensuring that
all current SAUSAs complete it in the next six weeks. Other measures may suggest themselves
during this period. Once we have completed our comprehensive evaluation, we will use what we
learn as a basis for revisions of policies, if needed, and for updated training to all Criminal Division
AUSAs and SAUSAs.

                                              Conclusion
    There were many disclosure issues in this case and we have attempted to identify what went
wrong in each instance. This Office is and remains committed to providing full and timely
disclosure and to identifying as well as possible in our often complex cases areas and items of
disclosure, including items wherever we can discern a potential defense theory. This case, and this
letter, will serve to illustrate many of the concerns that can arise. But we would again stress that
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we do not believe any issue in this case arose from bad faith or an intentional failure to comply
with any disclosure obligation.


                                            Respectfully submitted,

                                            AUDREY STRAUSS
                                            Acting United States Attorney


                                         by: _____________________________
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